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Law Office of Kevin i\/l. Downing
Law Office of Thomas E. Zehn|e
815 Connecticut Avenue, NW
Suite 730

Washington, DC 20006

Direct: (202) 754-1992
kevindowning@kdowninglaw.com
tezehnle@gmail.com

January 23, 2018
ViA EMAlL

Andrew Weissmann

Greg D. Andres

Kyle R. Freeney

Office of Special Counse|

950 Pennsylvania Avenue, NW
Washington, DC 20530

Re: United States v. Paul J. N|anafort, Jr. - 1:17~201-01 (ABJ)

Dear l\/lr. Weissmann, Mr. Andres and l\/ls. Freeney,

`l'his letter serves to formalize our previous discussions and requests that the Office of Special
Counsei (”OSC") make available all discovery and Brady material in the above-referenced case. Based on
our previous discussions and what was represented at the status conference on January 16, 2018, we are
unclear as to how the OSC is interpreting its obligations in this regard.

To make sure that there is no misunderstanding this formal request includes all information that
the government is required to disclose pursuant to the Federa| Rules of Criminal Procedure, Federal Ru|es
of Evidence, and relevant case |aw. We recognize that the OSC has been providing these materials on a
rolling basis, but because the Court has now set a February 23, 2018, deadline for filing dispositive motions
(as well as subsequent deadlines for other key motions), we request that all such information and
documents be secured and produced to the defense forthwith lndeed, given that we may potentially
start trial in September 2018, time is of the essence. Comp|eting the production of al/ such materials is
imperative so that the defense has sufficient time to utilize the information and materials in any motions

it may seek to file.

To facilitate the government’s compliance with its obligations, the following is a list of the
categories of information and/or documents that the defendant seeks to have produced - to the extent,
of course, that the OSC has not yet produced all relevant information or documents lmportantly, where
documents or information are withheld under any claim of privilege or otherwise by the government,
please state the basis for the privilege or reason and supply a sufficient summary (or redaction) of such

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withheld material so that the defense may determine whether a motion is warranted and appropriately
bring the matter to the Court’s attention.

A. Federal Rule of Criminal Procedure 16

1. Statements of the Defendant: Please provide all statements of the defendant as required by
Fed. R. Crim. P. 16(a)(1)(A) and 16(a)(1)(B). In responding to this request for the defendant's statements,
we request that you ask each law enforcement agency or government official involved in any way in
investigating or prosecuting this case or related matters to search its files for responsive information in
terms of determining whether such written or recorded statements are within the OSC's possession,
custody or control, the prosecution should disclose under Rule 16 any and all ”documents material to the
defense that: (1) it has actually reviewed, or (2) are in the possession, custody, or control ofa government
agency so closely aligned with the prosecution as to be considered part of the prosecution team.” United
Stotes v. Finnerty, 411 F. Supp. 2d 428, 432 (S.D.N.Y. 2006). We believe such government agencies
currently include (but are not limited to) the FB|, the U.S. Department oflustice National Security Division
and any other DOJ component (including U.S. Attorney Offices), and the internal Revenue Service. We
also have reason to believe that the National Security Agencv and the Central intelligence Agency may
have relevant materials based on reporting from major news agencies citing government sources.

We note that the OSC has produced the defendant’s interview statements, statements made by
the defendant during the search of his condominium and post-arrest, and depositions that were taken
more than two years ago. Particular attention, however, should be given to any written or recorded
statements that were obtained during the United States Government's surveillance of l\/lr. lVlanafort, or
its surveillance of others, in which the defendant's statements were written or recorded in any manner.
To be ciear, regardless of how these statements may have been obtained (including pursuant to F|SA
procedures), the defense is requesting their immediate production. if any such materials have been
destroyed, please provide all information regarding the same.

2. Defendant's Criminal Record: The OSC has previously stated that it is not aware of any criminal
history for |\/lr. l\/lanafort. Shou|d this position change, please provide a copy of the defendant's criminal
record as required by Fed. R. Crim. P. 16(a)(1)(D).

3. Documents and Tangible Objects: The defendant requests all documents or tangible objects
as required by Fed. R. Crim. P. 16(a)(1)(E). lt is noted that the OSC has been providing, on a rolling basis,
voluminous documentation in this matter. That said, statements made in the OSC's most recently filed
status report and during the status conference held on January 16, 2018, acknowledge that there are
relevant discovery materials that have not been provided to i\/lr. l\/lanafort. We have been advised that
the OSC continues to search for such responsive materials, including looking for relevant items in ”less
obvious” places.

To date, the parties have been working in a professional manner with one another concerning
discovery issues. We wish to continue that approach, but given the February 23 motion deadline, which
discovery may impact, we must request that ali discovery be completed forthwith. Needless to say,
tactical advantage should not be sought by delaying the production of Rule 16 and Brady material
(discussed infra); indeed, it was the OSC, not the defendants, that proposed May 14, 2018, as the trial
date. Pursuant to the Rule, the defendant requests that the government separately identify materials
that it intends to use at trial in its case-in-chief. Because voluminous documentation has already been

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produced that the OSC has stated may not pertain to the charges currently pending before the Court,
separate identification of materials that the government intends to use in its case-in-chief in the above-
captioned matter is warranted See Fed. R. Crim. P. 16(a)(1)(E)(ii).

4. Reports of $cientific Tests and Other Examinations: Please provide results or reports of tests or
examinations as required by Fed. R. Crim. P. 16(a)(1)(F). ln the event the results Were reported orally to
you or to any government official and were not memorialized in writing, please advise.

5. $ummaries of Expert Witness Testimony: Please prepare and produce a summary of any expert
witness testimony the government intends to offer, the grounds or basis for any such expert testimony,
and the qualifications of the expert witness, as required by Fed. R. Crim. P. 16(a)(1)(G).

B. Federal Rule of Criminal Procedure Rule 12(b)(4l(Bl

P|ease provide notice of any evidence the government intends to use in its case in-chief
discoverable under Fed. R. Crim. P. 16 that may be subject to a motion to suppress

C. Federal Rule of Evidence 404(b)

Please provide notice of any ”other crimes, wrongs or acts" evidence that the government intends
to introduce at trial pursuant to the Court’s order dated lanuary 16, 2018. P|ease identify the specific
purpose under Rule 404(b) which supports the admission of the evidence. See, e.g., United $tates v.
Merriweather, 78 F.3d 1070 (Gth Cir. 1996).

D. Federal Rule of Evidence Rule 1006

in the event you intend to call a summary witness at trial or present evidence in the form of a
summary or chart, please produce within a reasonable time prior to trial such summary evidence and the
documents or records upon which such summary, testimony, or chart is based.

E. Bradz l\/laterial

Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Gig/r‘o v. United $tates, 405 U.S. 150 (1972),
United $tates v. Agurs, 427 U.S. 97 (1976), Ky/es v. Whitley, 514 U.S. 419 (1995), and their legal progeny,
provide any exculpatory evidence material to the defendant's guilt or punishment. Such request includes
any impeachment materials or other evidence in any way favorable to the defense

ln addressing this important obligation, please note the concise summary of Brady evidence
previously provided by a federal district court in the District of Co|umbia:

The prosecutor cannot be permitted to look at the case pretrial through
the end of the telescope an appellate court would use post¢tria|. Thus,
the government must always produce any potentially exculpatory or
otherwise favorable evidence without regard to how the withholding of
such evidence might be viewed - with the benefit of hindsight - as
affecting the outcome of the trial.

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The meaning of the term ”favorab|e" under Bradj/ is not difficult to
discern. it is any information in the possession of the government -
broadly defined to include all Executive Branch agencies ~ that relates to
the guilt or punishment and that tends to help the defense by either
bolstering the defense case or impeaching potential prosecution
witnesses.

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Under Brady, the prosecutors have an affirmative duty to search possible
sources of exculpatory information, including a duty to learn of favorable
evidence known to others acting on the prosecution's behalf . . . [andj
also by other branches of government 'closely aligned with the
prosecution.'

United States v. Safavian, 233 F.R.D. 12, 14-15 (D.D.C. 2005) (citations omitted).
Specifica|ly, the defendant requests the following:

(1) records from the United States Embassy in Kiev, Ukraine, the United States State Department,
and the Central intelligence Agency regarding any and all meetings with the U.S. ambassadors and
embassy personnel and the defendant, Konstantin l<ilimnic and/or Phil Griffin, including visitor |ogs, notes,
memoranda, text messages and emaii regarding the substance of these meetings;

(2) materials from the United States government‘s surveillance of Paul |V|anafort;

(3) materials from prior DOJ investigations that have been reviewed by and/or otherwise utilized
by the OSC in the above-captioned case, including memoranda of interviews, attorney notes, agent notes,
emai| and text messages, the dates of initiation and termination (if any) of such investigations and any
approvals or declinations of the same;

(4) materials from the DOJ FARA office concerning audits, investigations or dealings with the
defendant, ivir. Gates, and their related entities, the Podesta Group and l\/|ercury Consu|ting, and their
principals and employees, with respect to Ukrainian~related activities;

(5) materials from the DOJ Office of inspector Generai’s 2016 audit of the National Security
Division's enforcement and administration of the Foreign Agents Registration Act, including memoranda
of interviews, attorney notes, agent notes, emaii and text messages;

(6) materials from DOJ’s ”leaks" investigation(s) concerning meetings and conversations with
news media organizations and/orjournalists, reporters and editors relating to Paul J. l\/lanafort, ir. and
Richard W. Gates |i|, and their related entities, including memoranda of interviews, attorney notes, agent
notes, emaii and text messages; and

(7) materials concerning government communications with news media organizations and/or
journalists, reporters and editors relating to the defendant, l\/lr. Gates, and their related entities, known
to the OSC or prosecution team and regardless of whether part of the DOJ’s ”leaks" investigation(s).

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These specific requests cover any and all documents, materials and information related to the topics
identified, regardless of the form ofsuch documents, materials and information (e.g., written documents,
electronic data, etc.).

F. Jencks Act i\/iaterial

P|ease provide production of Jencks Act material in accordance with the Court’s schedule and
within a reasonable time prior to trial to avoid any unnecessary delay in the trial proceedings.

G. Bruton l\/laterial

Pursuant to Bruton v. United States, 391 U.S. 123 (1968), please provide any statements of the
co_defendant, if any are in existence, that may potentially implicate the defendant so that appropriate
consideration can be given as to whether a motion to sever is appropriate in responding to this request,
please request each law enforcement agency or government official involved in investigating or
prosecuting this case to search its files for responsive information.

Fina|ly, as you are aware, this discovery request is of a continuing nature through the resolution
of the case. Please notify us immediately should additional information or materials become available
ln the meantime, should you have any questions regarding this letter, do not hesitate to co act us.

  

 

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Kevin |\/l. Do\miihg/

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